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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                         CASE NO. 6:22-cr-59-WWB-DCI

PATRICK SILFRAIN
KEVIN JEAN-GILLES
JEAN KESNOR CHOISIL


                      NOTICE OF MAXIMUM PENALTIES

      The United States of America, by Roger B. Handberg, United States Attorney

for the Middle District of Florida, hereby files this Notice of Maximum Penalties,

stating as follows:

                             MAXIMUM PENALTIES

      The penalties for the offense of conspiracy to possess with intent to distribute

controlled substances charged in Count One of the Indictment as to Patrick Silfrain,

Kevin Jean-Gilles, and Jean Kesnor Choisil, a minimum mandatory of not less than

10 years and up to life imprisonment, not more than 5 years of supervised release, a
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fine of 10,000,000 and a $100 special assessment.



                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney


                                   By: /s/ Ranganath Manthripragada
                                       Ranganath Manthripragada
                                       Assistant United States Attorney
                                       USA No. 199
                                       400 W. Washington Street, Suite 3100
                                       Orlando, Florida 32801
                                       Telephone: (407) 648-7500
                                       Facsimile: (407) 648-7643
                                       E-mail: Ranganath.Manthripragada@usdoj.gov




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                            CERTIFICATE OF SERVICE


       I hereby certify that on May 5, 2022, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:


       Karla M. Reyes, Counsel for Silfrain
       H. Kyle Fletcher, Counsel for Choisil
       Michael W. Nielsen, Counsel for Jean-Gilles


                                          /s/ Ranganath Manthripragada
                                          Ranganath Manthripragada
                                          Assistant United States Attorney
                                          USA No. 199
                                          400 W. Washington Street, Suite 3100
                                          Orlando, Florida 32801
                                          Telephone: (407) 648-7500
                                          Facsimile: (407) 648-7643
                                          E-mail: Ranganath.Manthripragada@usdoj.gov




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